. Case 2:01-cv-00789-SDW-LDW Document 264 Filed 05/28/15 Page 1 of 7 PagelD: 2940

JOSEP RECE} VED

Plaintiff MAY 28 2085

Pi 8:30.
consolidated with, wie ALSH CLERY
R. ALVES v. M. MAIN, et al.

Docket No. 01-789

"MOTION TO REOPEN/REINSTATE"

September 21, 2014 Mr. Joseph Aruanno #363
Special Treatment Unit
8 Production Way
PO Box 905
Avenel, NI 07001
.Case 2:01-cv-00789-SDW-LDW Document 264 Filed 05/28/15 Page 2 of 7 PagelD: 2941

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Dear Judge Wigenton:

Please accept this letter brief in lieu of a more formal brief
since I am pro se, which has been a major problem for the major-
ity of the plaintiffs since appointed counsel has neglect us
during the course of this case which had lead to a petition sign-
ed by a majority of the plaintiffs in MOTION form to have counsel
replaced or at least removed which the court DENIED, as_ the
record makes clear. And because I/we are denied access to a law
library, etc., which we are ENTITLED to which could help to
submit a better MOTION which is also a key issue in this case
which has been neglected for nearly 14 years: now and counting.

As well as the violations and limitations placed on me/us by
the defendants which obstructs our abilities mentally, physically

etc....

And where in any case I will attempt to address the reasons
for this PETITION/MOTION to REOPEN and/or REINSTATE the therapy

issues (allegedly) addressed in the settlement.
. Case 2:01-cv-00789-SDW-LDW Document 264 Filed 05/28/15 Page 3 of 7 PagelD: 2942

In support of this PETITION/MOTION I have prepared the attach-
ed "nine” points which are just the tip-of-the~iceberg and which
present serious conflict with the settlement.

And where with that you can see that I have zealously
attempted to remedy this with the defendants, ombudsman, monitor,
etc., with no resolution for which counsel assisting me with

other matters suggested I submit this to you.

In closing, if the court has any questions or comments I would
ask that there be "ORAL ARGUMENTS" where I may be able to present

a better case and answer any questions the court may have.

In advance I/we want to thank you for your time and efforts in

these matters. .
Sincerely,

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C). aie

Ji Aruanno

c: Office of the NJ Attorney General
file
Case 2:01-cv-00789-SDW-LDW Document 264 Filed 05/28/15 Page 4 of 7 PagelD: 2943

POINTS

(1) In reply to the recent CONOVER opinion in this court which
makes clear is "NOT BINDING PRECEDENT" I must address the MANY
different and unique issues in my supplemental brief concerning
being denied treatment at sentencing, during my prison term,
etc., which the Honorable Barry Albin of the NJ Supreme Court
called a "CHARADE" is the institutional documentation showing
that at least two years before the completion of my sentence the
state decided to refer me for civil commitment, as in need of
treatment, but contradicted themselves by failing/refusing to
provide it even then.

(2) Also as my brief makes clear the KEY issue in this case is
their motive which was statements I made in a legal brief quoting
the Honorable Joseph Rodriguez of the U.S. District Court in
Camden that "THE ENTIRE NJ PAROLE BOARD WAS/IS CORRUPT AND IN-
COMPETENT" which started the process in total denial of the
truth, and NOT about any farce of a likelihood of committing
another sexual crime, where I never have and is the issue of
litigation presently pending.

(3) As to the CONOVER opinion it suggests that the proper avenue
for such a challenge is a 42 U.S.C. § 1983 but as the record
makes clear I had previously litigated that in the District
court, case No. 06-296, where though the court[s] did not really
focus on it counsel in that matter, Wilentz, Goldman & Spitzer,
informed me that it was because the proper avenue was a HABEAS
CORPUS requesting RELEASE due to such Due Process disregard.

(4) Also another KEY issue in this case is the dissent of the
Honorable Chief Justice Theodore Mckee in the appeal of No.
05-296 in the District Court admitting my Constitutional Rights
and Clearly Established Law were violated by not being NOTIFIED,
or able to attend the PROBABLE CAUSE HEARING/TEMPOARY ORDER,
etc., with my lawyers, experts, etc....
Case 2:01-cv-00789-SDW-LDW Document 264 Filed 05/28/15 Page 5 of 7 PagelD: 2944

POINTS

(5) Yet another KEY issues as recently admitted by the Supreme
Court of New Jersey is my RIGHT TO SELF-~REPRESENTATION, which was
"IN THE MATTER OF D.Y¥.", which also deserves a REMAND in this
case.

(6) And as the record makes clear was mainly because the trial
court refused to hear from my own personal lawyer[s]. Clearly a
Constitutional violation.

(7) Where the record also makes clear I had NUMEROUS experts I
had informed the court of long BEFORE the hearing but it refused
to allow me to have them testify, etc., or even hear from them.
Which also is clearly yet another Clearly Established
Constitutional Right!

(8) And which it was able to do, (7), by forcing a lawyer on me
whom I had made clear WAS "NOT" MY LAWYER". And "DID NOT REPRE-
SENT ME", etc., where the record makes clear had absolutely no
time to prepare, REFUSED to even hear from me, etc....

(9) And most important is the PUNITIVE nature described in KANSAS
v. CRANE; KANSAS v. HENDRICK, where though the courts focus on an
(alleged) CIVIL IN INTENT/NATURE act no one can honestly say that
by being in a prison, designed and buiit for punishment through
lack of space, privacy, etc., in the custody of a Department of
Corrections, an organization trained in punishment’ through
violence, fear and terror, etc., addressed in over 1000 lawsuits
in the District Court, is therapeutic!?!

And which is compounded by one of my MANY experts whom has
reported the failure/refusal of this facility to provide and
meaningful therapy, etc....

(10) Also, as a REMAND in this case makes clear, Appeal No. 08-
3614, this court made clear that "ANY JURIST OF REASON WOULD
DOUBT THE CONCLUSION" of District Court Judge K. Hayden. Focusing
on clearly having Constitutional issues to address which she
failed to address. These points prove yet once again she refused
to address/admit certain Constitutional issues, which is why I
had requested this court assign to a different judge on REMAND.
And is why counsels PETITION FOR [her] RECUSAL should be examined
by this court. As well as MY submissions to Judge Hayden on this

issue.

(11) And any and all other issues addressed in my supplental
brief not mentioned here as recognized by this court.
Case 2:01-cv-00789-SDW-LDW Document 264 Filed 05/28/15 Page 6 of 7 PagelD: 2945
May 26, 2015

can COURT
ue Sh ee!
RE: JOSEPH ARUANNO VSTRICT OF (ey JERSEY

District Court No. 01-789

1s KAY 28 PF 25

Dear Clerk:
I submit this in reply to your recent letter to me, and/or ORDER, in the
case listed above.

Enclosed is ANOTHER courtesy copy of the MOTION I had submit dated 9/21/14
which I have managed to obtain despite having submitted to you my original as
well as addition courtesy copies with inquires into the status of the MOTION
where I had not received back date-stamped copies as requested.

As I have made totally clear the MOTION is in accordance with the terms of
the settlement regarding "REOPENING SETTLED ISSUES" if there is no compliance
or other problems as my MOTION makes clear there is.

In closing, as the basic rule is to hear motions within 6 months and this
MOTION now going on 9 months I ask that this court finally act on the motion
considering the amount of harm/injury such neglect from the defendants and
lack of Due Process from the court has inflicted.

Finally, I ask one final time for a date-stamped copy of the MOTION to be
returned with the court's reply here.

In advance I want to thank you for your time and efforts in these matters.

Sincerely,

Mr. Joseph Aruanno #363
S.T.U.

PO Box 905

Avenel, NJ 07001

c: Chief Judge Jerome Simandle
Clerk's Office, U.S. Court of Appeals
file
Case 2:01-cv-00789-SDW-LDW Document 264 Filed 05/28/15 Page 7 of 7 PagelD: 2946

J. Aruanno
PO Box 905
Avenel, NI

07001

District

Office of the Clerk, Civil Division

Court

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